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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-0693V
                                    Filed: February 16, 2018
                                         UNPUBLISHED


    TODD ROSENTHAL,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Table Injury; Influenza (Flu) Vaccine;
                                                             Shoulder Injury Related to Vaccine
    SECRETARY OF HEALTH                                      Administration (SIRVA)
    AND HUMAN SERVICES,

                       Respondent.


Alison H. Haskins, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.
                            RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
        On May 24, 2017, Todd Rosenthal (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that he suffered a left shoulder injury as a
result of an influenza (“flu”) vaccine he received on September 29, 2015. Petition at 1.
The case was assigned to the Special Processing Unit of the Office of Special Masters.
       On February 16, 2018, respondent filed his Rule 4(c) report in which he
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent states that “petitioner’s alleged injury is
consistent with a shoulder injury related to vaccine administration (‘SIRVA’), as defined
on the Vaccine Injury Table. Specifically, petitioner had no history of pain, inflammation,

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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or dysfunction of his left shoulder; medical records document that pain occurred within
48 hours after receipt of an intramuscular vaccination; pain was limited to the shoulder
in which the vaccine was administered; and no other condition or abnormality has been
identified to explain petitioner’s shoulder pain.” Id. at 4. Respondent further agrees that
petitioner suffered the residual effects of his condition for more than six months. Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.
IT IS SO ORDERED.
                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
